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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:22-cv-02175

CHRISTOPHER TUCK,

       Plaintiff,

v.

SHERIFF STEVEN D. NOWLIN, in his individual capacity;
LIEUTENANT JEFFREY COPELAND, in his individual capacity;
DETECTIVE JOHN HAYNES, in his individual capacity;
THE BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF MONTEZUMA, in its
official capacity;

       Defendants.


                       NOTICE OF SUPPLEMENTAL AUTHORITIES



       Plaintiff Christopher Tuck, by and through his attorneys Tyrone Glover and Helen Oh of

TYRONE GLOVER LAW, LLC, respectfully submits this Notice of Supplemental Authorities, and

states as follows:

                                  Supplemental Authorities

       1.      Cupp v. Cnty. of Sonoma, Case no. 23-cv-01007-JST, 2023 U.S. Dist. LEXIS 171878

(N.D. Cal. Sep. 26, 2023). This opinion was decided on September 26, 2023, and is relevant to

Plaintiff’s federal Monell and unlawful search issue, as raised in Plaintiff’s response to

Defendant’s Motion for Judgment on the Pleadings [ECF 42, pp. 20-23] and Plaintiff’s

Supplement [ECF 55, pp. 13-14].

       2.      Federal Aviation Administration, Office of the Chief Counsel, State and Local


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Regulation of Unmanned Aircraft Systems (UAS) Fact Sheet (July 14, 2023),

https://www.faa.gov/sites/faa.gov/files/State-Local-Regulation-of-Unmanned-Aircraft-Systems-

Fact-Sheet.pdf. The Federal Aviation Administration updated its fact sheet on state and local

regulation of drones on July 14, 2023. This is relevant to the issue of preemption, as raised in

Plaintiff’s response to Defendant’s Motion for Judgment on the Pleadings [ECF 42, pp. 5-6]

(citing to the previous version of this fact sheet).

                         CERTIFICATION PURSUANT TO D.C.COLO.LCIVR 7.1(A)

        Undersigned counsel has conferred with counsel for Defendants, who do not oppose the

filing of this notice.

        Respectfully submitted this October 20, 2023.

                                              TYRONE GLOVER LAW, LLC

                                              s/ Helen Oh
                                              Helen Oh
                                              Tyrone Glover
                                              Tyrone Glover Law, LLC
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                                              Denver, CO 80205
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                                              helen@tyroneglover.com




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2023, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing to the

following:

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Counsel for Defendants

                                           s/ Helen Oh




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